                                                                         Case 1:16-cr-00371-RA Document 401-1 Filed 04/11/18 Page 1 of 2


Cc:         Devon Archertdarcher@rosemontcapital.com]
To:         Holmby[jason@holmbycompanies.com]
From:       Bevan Cooney
Sent:       Thur 4/30/2015 1:47:35 PM
Subject:    Re: "Morgan" revised 5 responses

We continue to press until we have a huge surplus of excess honey. Devin should be a great Bee Keeper for our native bonds
Excited to hear how that meeting goes.

Sent from my iPhone

On Apr 29, 2015, at 10:12 PM, Holmby <                                                                                                     wrote:


           Arch and i attacking teneo tomorrow

I have devin with an i tomorrow

Huge

Sent from my iPhone

On Apr 30, 2015, at 1:06 AM, Bevan Cooney <btcooney@gmall.com> wrote:


                The "Greek Machine" just doesn't stop!!!

Sent from my iPhone

On Apr 29, 2015, at 9:49 PM, jason galanis <iason@holmbycompanics.com> wrote:


                        relentless greek attack



Begin forwarded message:


                              From: jason galanis <iason@holmbvcompanies.com>
                              Subject: "Morgan" revised 5 responses
                              Date: April 30, 2015 at 12:48:33 AM EDT
                              To: yasteichen@valorlife.com
                                   z ^,rx x ^,rx x ^,rx x ^,rx x ^,rx x ^,rx x ^,rx x ^,rx x ^,rx x^tf/ x3^i?^5fi$^fr5fi$^fr5fi$^

aloyse,

one version is redlined so you can see the revisions made to reflect your comments, the other is
                           clean.

they did not ask for an org chart, my instinct and advice is not to offer it yet. i would recommend
                           being responsive only to what they asked in the teaser.

your call, of course.

Best,

Jason

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